                                                            Case 03-42824-KKS             DocFORM
                                                                                               1911 Filed 07/27/22 Page                                    1 of 11                      Page No:    1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES

Case No.:                      03-42824                                                                                                                    Trustee Name:                             Karin A. Garvin
Case Name:                     DBA CHAMPION DEVELOPMENT MANAGEMENT                                                                                         Date Filed (f) or Converted (c):          10/14/2003 (f)
For the Period Ending:         06/30/2022                                                                                                                  §341(a) Meeting Date:                     12/04/2003
                                                                                                                                                           Claims Bar Date:                          03/08/2004
                                  1                                                 2                               3                                4                         5                                         6

                      Asset Description                                         Petition/                  Estimated Net Value                  Property                 Sales/Funds               Asset Fully Administered (FA)/
                       (Scheduled and                                         Unscheduled                 (Value Determined by                  Abandoned                Received by               Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                      Value                           Trustee,                 OA =§ 554(a) abandon.           the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

Ref. #
1        NET PROCEEDS-SALE OF LOST KEY                                           $406,903.31                             $414,534.81                                          $414,534.81                                              FA
         PLANTATION
2        Fraud Claim against Clifford Worley                       (u)              Unknown                                     $1.00                                                $0.00                                           $1.00
Asset Notes:      R. Rushing, Esq. representing Alfreda Worley in pursuing fraud claim against C. Worley
INT    Interest Earned                                            (u)              Unknown                                  Unknown                                            $17,322.21                                              FA


TOTALS (Excluding unknown value)                                                                                                                                                                        Gross Value of Remaining Assets
                                                                                $406,903.31                              $414,535.81                                          $431,857.02                                        $1.00



Major Activities affecting case closing:
 06/28/2022     Current creditor atty Morock pursuing fraud action to benefit the estate filed Motion to withdraw as counsel; previous atty for creditor withdrew. Creditor is investigating new counsel
                to hire.
                Projected closing 6/2024
 06/30/2017     Robert Rushing still attempting to locate Clifford Worley for 2004 exam; fraud claim being pursued for estate benefit
                current projected closing 1/2019
 11/15/2016     Rushing , Esq. setting new 2004 exam in next several months due to failure to locate Clifford Worley. Fraud claim being pursued to benefit the estate.
                Projected closing 1/18
 05/15/2016     Rushing, Esq pursuing discovery against C. Worley
                Projected closing 1/15/17
 06/29/2015     Original case TFR Submitted 10/2/2007-TDR submitted to UST 10/2/2008-Final Decree date 12/29/2008
 06/29/2015     Case reopened on 2/19/15; contacted several attorneys
                to represent estate; waiting on response from atty
                who may be interested. Estate has no funds and atty must
                agree to contingency fee and to cover costs if unsuccessful
                Depo of Katherine Wilborn 3/5/08
                Surplus funds in excess of the filed allowed claims
                projected closing date 4/2008


Initial Projected Date Of Final Report (TFR):           03/01/2005                            Current Projected Date Of Final Report (TFR):              12/15/2023                /s/ KARIN A. GARVIN
                                                                                                                                                                                   KARIN A. GARVIN
                                                        Case 03-42824-KKS             Doc 191 Filed 07/27/22   Page 2 of 11
                                                                                       FORM 2                                                      Page No: 1
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        03-42824                                                                         Trustee Name:                        Karin A. Garvin
Case Name:                      DBA CHAMPION DEVELOPMENT MANAGEMENT                                              Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          **-***3661                                                                       Money Market Acct #:                 ******4365
Co-Debtor Taxpayer ID #:                                                                                         Account Title:                       Money Market Account
For Period Beginning:           07/01/2021                                                                       Blanket bond (per case limit):       $10,870,000.00
For Period Ending:              06/30/2022                                                                       Separate bond (if applicable):


     1                2                       3                                                        4                               5                    6             7

Transaction      Check /                   Paid to/                            Description of Transaction          Uniform          Deposit           Disbursement      Balance
   Date           Ref. #                Received From                                                             Tran Code           $                    $


01/16/2004            (1)    Champion Development Management Corp      Payment of Proceeds of Sale                1129-000        $414,534.81                   $0.00     $414,534.81
01/30/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.2000%                1270-000              $24.78                  $0.00     $414,559.59
02/27/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.2000%                1270-000              $65.70                  $0.00     $414,625.29
03/31/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.1500%                1270-000              $64.57                  $0.00     $414,689.86
04/02/2004                   ACCOUNT FUNDED: ********4319                                                         9999-000                 $0.00          $414,646.44             $43.42
04/30/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.1500%                1270-000                 $1.70                $0.00             $45.12
05/28/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.1500%                1270-000                 $0.01                $0.00             $45.13
06/30/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.1500%                1270-000                 $0.01                $0.00             $45.14
07/30/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.1500%                1270-000                 $0.01                $0.00             $45.15
08/31/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.2000%                1270-000                 $0.01                $0.00             $45.16
09/30/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.2000%                1270-000                 $0.01                $0.00             $45.17
10/29/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.2500%                1270-000                 $0.01                $0.00             $45.18
11/30/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.2500%                1270-000                 $0.01                $0.00             $45.19
12/31/2004           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.2500%                1270-000                 $0.01                $0.00             $45.20
01/31/2005           (INT)   JPMORGAN CHASE BANK                       Interest posting at 0.3000%                1270-000                 $0.01                $0.00             $45.21
02/28/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.3500%                1270-000                 $0.01                $0.00             $45.22
03/31/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.3500%                1270-000                 $0.01                $0.00             $45.23
04/29/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.3500%                1270-000                 $0.01                $0.00             $45.24
05/31/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.3500%                1270-000                 $0.01                $0.00             $45.25
06/30/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.4000%                1270-000                 $0.01                $0.00             $45.26
07/29/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.4500%                1270-000                 $0.02                $0.00             $45.28
08/31/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.4500%                1270-000                 $0.02                $0.00             $45.30
09/30/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.5000%                1270-000                 $0.02                $0.00             $45.32
10/31/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.5500%                1270-000                 $0.02                $0.00             $45.34
11/30/2005           (INT)   JPMORGAN CHASE BANK, N.A.                 Interest posting at 0.5500%                1270-000                 $0.02                $0.00             $45.36


                                                                                                                 SUBTOTALS          $414,691.80           $414,646.44
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                                                                                  FORM 2                                                       Page No: 2
                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       03-42824                                                                     Trustee Name:                         Karin A. Garvin
Case Name:                     DBA CHAMPION DEVELOPMENT MANAGEMENT                                          Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:         **-***3661                                                                   Money Market Acct #:                  ******4365
Co-Debtor Taxpayer ID #:                                                                                    Account Title:                        Money Market Account
For Period Beginning:          07/01/2021                                                                   Blanket bond (per case limit):        $10,870,000.00
For Period Ending:             06/30/2022                                                                   Separate bond (if applicable):


     1                2                     3                                                     4                               5                     6             7

Transaction      Check /                  Paid to/                        Description of Transaction          Uniform          Deposit            Disbursement      Balance
   Date           Ref. #               Received From                                                         Tran Code           $                     $


12/30/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.38
01/31/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                1270-000                 $0.03                 $0.00             $45.41
02/28/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                1270-000                 $0.02                 $0.00             $45.43
03/31/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                1270-000                 $0.03                 $0.00             $45.46
04/28/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.03                 $0.00             $45.49
05/31/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.03                 $0.00             $45.52
06/30/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.03                 $0.00             $45.55
07/31/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.03                 $0.00             $45.58
08/31/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.03                 $0.00             $45.61
09/29/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.02                 $0.00             $45.63
10/31/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.03                 $0.00             $45.66
11/30/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.03                 $0.00             $45.69
12/29/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000                 $0.02                 $0.00             $45.71
01/31/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.03                 $0.00             $45.74
02/28/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.76
03/30/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.78
04/30/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.80
05/31/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.82
06/29/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.84
07/31/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.86
08/31/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.88
09/28/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.90
10/31/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000                 $0.02                 $0.00             $45.92
11/30/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6000%                1270-000                 $0.02                 $0.00             $45.94
12/31/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6000%                1270-000                 $0.02                 $0.00             $45.96


                                                                                                            SUBTOTALS                  $0.60                $0.00
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                                                                                        FORM 2                                                                         Page No: 3
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         03-42824                                                                                          Trustee Name:                          Karin A. Garvin
Case Name:                       DBA CHAMPION DEVELOPMENT MANAGEMENT                                                               Bank Name:                             JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:           **-***3661                                                                                        Money Market Acct #:                   ******4365
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                         Money Market Account
For Period Beginning:            07/01/2021                                                                                        Blanket bond (per case limit):         $10,870,000.00
For Period Ending:               06/30/2022                                                                                        Separate bond (if applicable):


     1                2                          3                                                       4                                                 5                    6              7

Transaction      Check /                      Paid to/                        Description of Transaction                             Uniform          Deposit             Disbursement       Balance
   Date           Ref. #                   Received From                                                                            Tran Code           $                      $


01/31/2008           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 0.3000%                                   1270-000                   $0.02                 $0.00             $45.98
06/18/2008           (INT)   JPMORGAN CHASE BANK, N.A.                Current Interest Rate is 0.1500%                              1270-000                   $0.00                 $0.00             $45.98
06/18/2008                   To Account #********4366                 Final Transfer                                                9999-000                   $0.00                $45.98              $0.00

                                                                                        TOTALS:                                                        $414,692.42             $414,692.42              $0.00
                                                                                            Less: Bank transfers/CDs                                         $0.00             $414,692.42
                                                                                        Subtotal                                                       $414,692.42                   $0.00
                                                                                            Less: Payments to debtors                                        $0.00                   $0.00
                                                                                        Net                                                            $414,692.42                   $0.00




                      For the period of 07/01/2021 to 06/30/2022                                                  For the entire history of the account between 01/16/2004 to 6/30/2022

                      Total Compensable Receipts:                           $0.00                                 Total Compensable Receipts:                                 $414,692.42
                      Total Non-Compensable Receipts:                       $0.00                                 Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                         $0.00                                 Total Comp/Non Comp Receipts:                               $414,692.42
                      Total Internal/Transfer Receipts:                     $0.00                                 Total Internal/Transfer Receipts:                                 $0.00


                      Total Compensable Disbursements:                      $0.00                                 Total Compensable Disbursements:                                  $0.00
                      Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:                    $0.00                                 Total Comp/Non Comp Disbursements:                                $0.00
                      Total Internal/Transfer Disbursements:                $0.00                                 Total Internal/Transfer Disbursements:                      $414,692.42
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                                                                                  FORM 2                                                      Page No: 4
                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       03-42824                                                                     Trustee Name:                        Karin A. Garvin
Case Name:                     DBA CHAMPION DEVELOPMENT MANAGEMENT                                          Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:         **-***3661                                                                   Certificate of Deposits Acct #:      ******4319
Co-Debtor Taxpayer ID #:                                                                                    Account Title:                       Time Deposit Account
For Period Beginning:          07/01/2021                                                                   Blanket bond (per case limit):       $10,870,000.00
For Period Ending:             06/30/2022                                                                   Separate bond (if applicable):


     1                2                     3                                                     4                               5                    6             7

Transaction      Check /                  Paid to/                        Description of Transaction          Uniform          Deposit           Disbursement      Balance
   Date           Ref. #               Received From                                                         Tran Code           $                    $


04/02/2004                   FUNDING ACCOUNT: ********4365                                                   9999-000         $414,646.44                  $0.00     $414,646.44
04/30/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.3100%                1270-000             $102.14                  $0.00     $414,748.58
05/28/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.3100%                1270-000             $109.21                  $0.00     $414,857.79
06/30/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.3100%                1270-000             $105.71                  $0.00     $414,963.50
07/02/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.3100%                1270-000                 $3.53                $0.00     $414,967.03
07/30/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.5700%                1270-000             $182.62                  $0.00     $415,149.65
08/31/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.5700%                1270-000             $201.02                  $0.00     $415,350.67
09/30/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.5700%                1270-000             $194.62                  $0.00     $415,545.29
10/29/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.5900%                1270-000             $367.20                  $0.00     $415,912.49
11/30/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.5900%                1270-000             $355.67                  $0.00     $416,268.16
12/31/2004           (INT)   JPMORGAN CHASE BANK                  Interest posting at 0.5900%                1270-000             $355.97                  $0.00     $416,624.13
03/01/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6000%                1270-000             $444.81                  $0.00     $417,068.94
05/02/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                1270-000             $493.62                  $0.00     $417,562.56
08/01/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                1270-000             $831.70                  $0.00     $418,394.26
08/31/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8500%                1270-000             $291.74                  $0.00     $418,686.00
09/30/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                1270-000             $225.97                  $0.00     $418,911.97
10/31/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.9000%                1270-000             $311.61                  $0.00     $419,223.58
11/30/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 0.9500%                1270-000             $338.82                  $0.00     $419,562.40
12/30/2005           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 1.0500%                1270-000             $327.60                  $0.00     $419,890.00
02/28/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 1.0500%                1270-000             $720.13                  $0.00     $420,610.13
05/01/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 1.1500%                1270-000             $820.49                  $0.00     $421,430.62
06/30/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 1.3500%                1270-000             $932.91                  $0.00     $422,363.53
08/29/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 1.4000%                1270-000             $970.27                  $0.00     $423,333.80
11/27/2006           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 1.5000%                1270-000           $1,564.60                  $0.00     $424,898.40
02/26/2007           (INT)   JPMORGAN CHASE BANK, N.A.            Interest posting at 1.5000%                1270-000           $1,574.42                  $0.00     $426,472.82


                                                                                                            SUBTOTALS          $426,472.82                 $0.00
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                                                                                      FORM 2                                                                           Page No: 5
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         03-42824                                                                                          Trustee Name:                          Karin A. Garvin
Case Name:                       DBA CHAMPION DEVELOPMENT MANAGEMENT                                                               Bank Name:                             JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:           **-***3661                                                                                        Certificate of Deposits Acct #:        ******4319
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                         Time Deposit Account
For Period Beginning:            07/01/2021                                                                                        Blanket bond (per case limit):         $10,870,000.00
For Period Ending:               06/30/2022                                                                                        Separate bond (if applicable):


     1                2                           3                                                   4                                                    5                    6               7

Transaction      Check /                      Paid to/                        Description of Transaction                             Uniform          Deposit             Disbursement        Balance
   Date           Ref. #                   Received From                                                                            Tran Code           $                      $


05/29/2007           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000           $1,498.64                    $0.00       $427,971.46
08/24/2007           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000               $866.21                  $0.00       $428,837.67
09/27/2007           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000               $643.60                  $0.00       $429,481.27
10/23/2007           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000               $428.51                  $0.00       $429,909.78
12/13/2007                   Transferred to DDA                       Transferred to DDA                                            9999-000                   $0.00          $243,170.71       $186,739.07
12/24/2007           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000               $908.90                  $0.00       $187,647.97
02/20/2008           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000               $396.89                  $0.00       $188,044.86
04/21/2008           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000               $387.61                  $0.00       $188,432.47
06/19/2008           (INT)   JPMORGAN CHASE BANK, N.A.                Interest posting at 1.4000%                                   1270-000               $207.86                  $0.00       $188,640.33
06/24/2008                   To Account #********4366                 Close CD                                                      9999-000                   $0.00          $188,640.33               $0.00

                                                                                        TOTALS:                                                         $431,811.04             $431,811.04             $0.00
                                                                                            Less: Bank transfers/CDs                                    $414,646.44             $431,811.04
                                                                                        Subtotal                                                         $17,164.60                   $0.00
                                                                                            Less: Payments to debtors                                         $0.00                   $0.00
                                                                                        Net                                                              $17,164.60                   $0.00




                      For the period of 07/01/2021 to 06/30/2022                                                  For the entire history of the account between 04/02/2004 to 6/30/2022

                      Total Compensable Receipts:                           $0.00                                 Total Compensable Receipts:                                  $17,164.60
                      Total Non-Compensable Receipts:                       $0.00                                 Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                         $0.00                                 Total Comp/Non Comp Receipts:                                $17,164.60
                      Total Internal/Transfer Receipts:                     $0.00                                 Total Internal/Transfer Receipts:                           $414,646.44


                      Total Compensable Disbursements:                      $0.00                                 Total Compensable Disbursements:                                  $0.00
                      Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:                    $0.00                                 Total Comp/Non Comp Disbursements:                                $0.00
                      Total Internal/Transfer Disbursements:                $0.00                                 Total Internal/Transfer Disbursements:                      $431,811.04
                                                          Case 03-42824-KKS           Doc 191 Filed 07/27/22              Page 7 of 11
                                                                                       FORM 2                                                                  Page No: 6
                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      03-42824                                                                                      Trustee Name:                         Karin A. Garvin
Case Name:                    DBA CHAMPION DEVELOPMENT MANAGEMENT                                                           Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:        **-***3661                                                                                    Checking Acct #:                      ******4366
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                        Checking Account
For Period Beginning:         07/01/2021                                                                                    Blanket bond (per case limit):        $10,870,000.00
For Period Ending:            06/30/2022                                                                                    Separate bond (if applicable):


     1                2                         3                                                    4                                             5                    6               7

Transaction      Check /                   Paid to/                          Description of Transaction                       Uniform           Deposit           Disbursement        Balance
   Date           Ref. #                Received From                                                                        Tran Code            $                    $


12/13/2007                 funds from CD acct                        Funds from CD acct                                      9999-000          $243,170.71                    $0.00     $243,170.71
12/14/2007           101   SMITH, SAUER & DEMARIA, P.A.              Interim Distribution                                    7100-000                  $0.00           $21,212.45       $221,958.26
12/14/2007           102   Shell, Fleming, Davis & Menge             Interim Distribution                                    7100-000                  $0.00            $5,483.00       $216,475.26
12/14/2007           103   MCDONALD, FLEMING, MOOREHEAD              Interim Distribution                                    7100-000                  $0.00           $31,724.26       $184,751.00
12/14/2007           104   FAYETTE DENNISON, CPA                     Interim Distribution                                    7100-000                  $0.00          $180,000.00           $4,751.00
12/14/2007           105   Bizzell, Neff & Galloway, PA                                                                      3410-000                  $0.00            $4,751.00                $0.00
06/18/2008                 From Account #********4365                Final Transfer                                          9999-000              $45.98                     $0.00             $45.98
06/24/2008                 From Account #********4319                Close CD                                                9999-000          $188,640.33                    $0.00     $188,686.31
06/24/2008           106   Karin A. Garvin                           Dividend paid 100.00% on $1,439.15, Trustee             2200-000                  $0.00            $1,439.15       $187,247.16
                                                                     Expenses; Reference:
06/24/2008           107   Karin A. Garvin                           Dividend paid 100.00% on $21,408.41, Trustee            2100-000                  $0.00           $21,408.41       $165,838.75
                                                                     Compensation; Reference:
06/24/2008           108   Katherine Wilborn, CPA                    DBA CHAMPION DEVELOPMENT                                7200-000                  $0.00           $50,000.00       $115,838.75
                                                                     MANAGEMENT 03-42824PNS3 Dividend paid
                                                                     100.00% on $50,000.00; Claim# 12; Filed:
                                                                     $50,000.00; Reference:
06/24/2008           109   SMITH, SAUER & DEMARIA, P.A.              DBA CHAMPION DEVELOPMENT                                7990-000                  $0.00            $1,196.03       $114,642.72
                                                                     MANAGEMENT 03-42824PNS3 Dividend paid
                                                                     100.00% on $1,196.03; Claim# 1I; Filed: $1,196.03;
                                                                     Reference:
06/24/2008           109   SMITH, SAUER & DEMARIA, P.A.              DBA CHAMPION DEVELOPMENT                                7990-000                  $0.00           ($1,196.03)      $115,838.75
                                                                     MANAGEMENT 03-42824PNS3 Dividend paid
                                                                     100.00% on $1,196.03; Claim# 1I; Filed: $1,196.03;
                                                                     Reference:
06/24/2008           110   Shell, Fleming, Davis & Menge             DBA CHAMPION DEVELOPMENT                                7990-000                  $0.00                $309.15     $115,529.60
                                                                     MANAGEMENT 03-42824PNS3 Dividend paid
                                                                     100.00% on $309.15; Claim# 3I; Filed: $309.15;
                                                                     Reference:




                                                                                                                            SUBTOTALS           $431,857.02           $316,327.42
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                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       03-42824                                                                                    Trustee Name:                         Karin A. Garvin
Case Name:                     DBA CHAMPION DEVELOPMENT MANAGEMENT                                                         Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:         **-***3661                                                                                  Checking Acct #:                      ******4366
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                        Checking Account
For Period Beginning:          07/01/2021                                                                                  Blanket bond (per case limit):        $10,870,000.00
For Period Ending:             06/30/2022                                                                                  Separate bond (if applicable):


     1                2                         3                                                   4                                            5                     6                 7

Transaction      Check /                    Paid to/                        Description of Transaction                       Uniform          Deposit            Disbursement          Balance
   Date           Ref. #                 Received From                                                                      Tran Code           $                     $


06/24/2008           110   Shell, Fleming, Davis & Menge            DBA CHAMPION DEVELOPMENT                                7990-000                 $0.00                 ($309.15)     $115,838.75
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    100.00% on $309.15; Claim# 3I; Filed: $309.15;
                                                                    Reference:
06/24/2008           111   MCDONALD, FLEMING, MOOREHEAD             DBA CHAMPION DEVELOPMENT                                7990-000                 $0.00             $1,788.73         $114,050.02
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    100.00% on $1,788.73; Claim# 9I; Filed: $1,788.73;
                                                                    Reference:
06/24/2008           111   MCDONALD, FLEMING, MOOREHEAD             DBA CHAMPION DEVELOPMENT                                7990-000                 $0.00            ($1,788.73)        $115,838.75
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    100.00% on $1,788.73; Claim# 9I; Filed: $1,788.73;
                                                                    Reference:
06/24/2008           112   FAYETTE DENNISON, CPA                    DBA CHAMPION DEVELOPMENT                                7990-000                 $0.00            $10,149.04         $105,689.71
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    100.00% on $10,149.04; Claim# 11I; Filed:
                                                                    $10,149.04; Reference:
06/24/2008           112   FAYETTE DENNISON, CPA                    DBA CHAMPION DEVELOPMENT                                7990-000                 $0.00           ($10,149.04)        $115,838.75
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    100.00% on $10,149.04; Claim# 11I; Filed:
                                                                    $10,149.04; Reference:
06/24/2008           113   Sherry Fowler Chancellor, Trustee        DBA CHAMPION DEVELOPMENT                                8200-000                 $0.00            $51,197.90          $64,640.85
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    75.60% on $67,717.26; Claim# ADMIN; Filed:
                                                                    $67,717.26; Reference:
06/24/2008           113   Sherry Fowler Chancellor, Trustee        DBA CHAMPION DEVELOPMENT                                8200-000                 $0.00           ($51,197.90)        $115,838.75
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    75.60% on $67,717.26; Claim# ADMIN; Filed:
                                                                    $67,717.26; Reference:
06/24/2008           114   David E. Bailey, Jr., Esq.               DBA CHAMPION DEVELOPMENT                                8200-000                 $0.00            $51,197.90          $64,640.85
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    75.60% on $67,717.25; Claim# ADMIN; Filed:
                                                                    $67,717.25; Reference:


                                                                                                                           SUBTOTALS                  $0.00           $50,888.75
                                                         Case 03-42824-KKS        Doc 191 Filed 07/27/22            Page 9 of 11
                                                                                   FORM 2                                                                Page No: 8
                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       03-42824                                                                               Trustee Name:                         Karin A. Garvin
Case Name:                     DBA CHAMPION DEVELOPMENT MANAGEMENT                                                    Bank Name:                            JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:         **-***3661                                                                             Checking Acct #:                      ******4366
Co-Debtor Taxpayer ID #:                                                                                              Account Title:                        Checking Account
For Period Beginning:          07/01/2021                                                                             Blanket bond (per case limit):        $10,870,000.00
For Period Ending:             06/30/2022                                                                             Separate bond (if applicable):


     1                2                         3                                                  4                                        5                     6              7

Transaction      Check /                    Paid to/                       Description of Transaction                   Uniform          Deposit            Disbursement       Balance
   Date           Ref. #                 Received From                                                                 Tran Code           $                     $


06/24/2008           114   David E. Bailey, Jr., Esq.               DBA CHAMPION DEVELOPMENT                           8200-000                 $0.00           ($51,197.90)     $115,838.75
                                                                    MANAGEMENT 03-42824PNS3 Dividend paid
                                                                    75.60% on $67,717.25; Claim# ADMIN; Filed:
                                                                    $67,717.25; Reference:
06/26/2008           115   SMITH, SAUER & DEMARIA, P.A.             dba Champion Development Mngmnt Dividend paid      7990-000                 $0.00             $4,242.00      $111,596.75
                                                                    100% on $4242.00
06/26/2008           116   Shell, Fleming, Davis & Menge            dba Champiom Development Mngmnt dividend paid      7990-000                 $0.00             $1,097.00      $110,499.75
                                                                    100% on $1097.00
06/26/2008           117   MCDONALD, FLEMING, MOOREHEAD             dba Champion Development Mngmnt Dividend paid      7990-000                 $0.00             $6,345.00      $104,154.75
                                                                    100% on $6345.00
06/26/2008           118   FAYETTE DENNISON, CPA                    dba Champion Development Mngmnt dividend paid      7990-000                 $0.00            $36,000.00       $68,154.75
                                                                    100% on 36,000.00
06/26/2008           119   Sherry Fowler Chancellor, Trustee        dba Champion Development Mngmnt Claim # Admin      8200-002                 $0.00            $34,077.38       $34,077.37
                                                                    34077.38
06/26/2008           120   Alfreda Worley                           dba Champion Development Mngmnt Claim # Admin      8200-002                 $0.00            $34,077.37              $0.00
                                                                    $34077.37




                                                                                                                      SUBTOTALS                  $0.00           $64,640.85
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        03-42824                                                                                       Trustee Name:                        Karin A. Garvin
Case Name:                      DBA CHAMPION DEVELOPMENT MANAGEMENT                                                            Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:          **-***3661                                                                                     Checking Acct #:                     ******4366
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                       Checking Account
For Period Beginning:           07/01/2021                                                                                     Blanket bond (per case limit):       $10,870,000.00
For Period Ending:              06/30/2022                                                                                     Separate bond (if applicable):


    1                2                          3                                                 4                                                    5                  6              7

Transaction      Check /                     Paid to/                     Description of Transaction                             Uniform          Deposit           Disbursement       Balance
   Date           Ref. #                  Received From                                                                         Tran Code           $                    $



                                                                                    TOTALS:                                                        $431,857.02           $431,857.02             $0.00
                                                                                        Less: Bank transfers/CDs                                   $431,857.02                 $0.00
                                                                                    Subtotal                                                             $0.00           $431,857.02
                                                                                        Less: Payments to debtors                                        $0.00            $68,154.75
                                                                                    Net                                                                  $0.00           $363,702.27




                     For the period of 07/01/2021 to 06/30/2022                                               For the entire history of the account between 12/12/2007 to 6/30/2022

                     Total Compensable Receipts:                         $0.00                                Total Compensable Receipts:                                     $0.00
                     Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                                Total Comp/Non Comp Receipts:                                   $0.00
                     Total Internal/Transfer Receipts:                   $0.00                                Total Internal/Transfer Receipts:                         $431,857.02


                     Total Compensable Disbursements:                    $0.00                                Total Compensable Disbursements:                          $363,702.27
                     Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                       $68,154.75
                     Total Comp/Non Comp Disbursements:                  $0.00                                Total Comp/Non Comp Disbursements:                        $431,857.02
                     Total Internal/Transfer Disbursements:              $0.00                                Total Internal/Transfer Disbursements:                          $0.00
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        03-42824                                                                                    Trustee Name:                        Karin A. Garvin
Case Name:                      DBA CHAMPION DEVELOPMENT MANAGEMENT                                                         Bank Name:                           JPMORGAN CHASE BANK, N.A.
Primary Taxpayer ID #:           **-***3661                                                                                 Checking Acct #:                     ******4366
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                       Checking Account
For Period Beginning:           07/01/2021                                                                                  Blanket bond (per case limit):       $10,870,000.00
For Period Ending:              06/30/2022                                                                                  Separate bond (if applicable):


    1                2                           3                                                 4                                                5                  6             7

Transaction      Check /                     Paid to/                      Description of Transaction                         Uniform           Deposit          Disbursement      Balance
   Date           Ref. #                  Received From                                                                      Tran Code            $                   $



                                                                                                                                                                           NET        ACCOUNT
                                                                                    TOTAL - ALL ACCOUNTS                               NET DEPOSITS                   DISBURSE       BALANCES

                                                                                                                                               $431,857.02          $431,857.02              $0.00




                     For the period of 07/01/2021 to 06/30/2022                                            For the entire history of the account between 12/12/2007 to 6/30/2022

                     Total Compensable Receipts:                         $0.00                             Total Compensable Receipts:                              $431,857.02
                     Total Non-Compensable Receipts:                     $0.00                             Total Non-Compensable Receipts:                                $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                             Total Comp/Non Comp Receipts:                            $431,857.02
                     Total Internal/Transfer Receipts:                   $0.00                             Total Internal/Transfer Receipts:                        $846,503.46


                     Total Compensable Disbursements:                    $0.00                             Total Compensable Disbursements:                         $363,702.27
                     Total Non-Compensable Disbursements:                $0.00                             Total Non-Compensable Disbursements:                      $68,154.75
                     Total Comp/Non Comp Disbursements:                  $0.00                             Total Comp/Non Comp Disbursements:                       $431,857.02
                     Total Internal/Transfer Disbursements:              $0.00                             Total Internal/Transfer Disbursements:                   $846,503.46




                                                                                                                                             /s/ KARIN A. GARVIN
                                                                                                                                             KARIN A. GARVIN
